Case 2:05-cr-20028-SH|\/| Document 23 Filed 06/15/05 Page 1 of 2 Page|D 15

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lN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DIsrRICT oF TENNESSEE ss JLF€-§ 5 Pt'i 3= i,, 3
WESTERN DlVlSION

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UNITED STATES OF AMERICA

V.

DENNIS DAE No. 05cr20028-Ma

 

ORDER CONTINUING ARRAIGNMENT AND
SPECIFYING PERIOD OF EXCLUDABLE DELAY UNDER THE SPEEDY TRIAL ACT

 

The counsel for the defendant has this day notified the Court that the defendant,
upon order of the court, had been ordered to be committed to the custody of the Attorney
General pursuant to 18 U.S.C. § 4241(d) for treatment and further evaluation The court
finds that the arraignment should be continued until a report on defendant’s mental
competency is received and that the ends of justice served by such a continuance outweigh
the best interest of the public and the defendant in a speedy trial.

lt is therefore ORDERED that pursuant t018 U.S.C. § 3161(h)(1)(A) the time period

of 2 M;Z add, § through /;//6’/3¢65 be excluded from the

time its imposed by the Speedy Trial Act for trial of this case, While the defendant is under

 

observation for mental competency.

ARRAIGNMENT RESET TO WEDNESDAY, NOVEMBER 16, 2005 AT 10:00 A.M.
BEFORE MAGISTRATE ]UDGE S. THOMAS ANDERSON.

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UNITED STAT\ES MAGISTRATE ]UDGE

  

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20028 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

